     Case 1:23-cv-03562-RDM Document 43 Filed 10/18/24 Page 1 of 24




                     UNITED STATES DISTRICT COURT
                         DISTRICT OF COLUMBIA

META PLATFORMS, INC.,

                        Plaintiff,     Case No. 1:23-cv-03562-RDM

                v.                     Judge Randolph D. Moss

FEDERAL TRADE COMMISSION, et al.,

                        Defendants.



   DEFENDANTS’ REPLY IN SUPPORT OF RENEWED MOTION TO DISMISS
            Case 1:23-cv-03562-RDM Document 43 Filed 10/18/24 Page 2 of 24




                                                 TABLE OF CONTENTS

INTRODUCTION ......................................................................................................................1

ARGUMENT ..............................................................................................................................2

I.        The Seventh Amendment is not implicated. .....................................................................2

II.       The Commission adjudicates public rights, consistent with Article III. ............................6

          A.        FTC Act claims adjudicated in § 45(b) proceedings are distinct from
                    historical claims in courts of law and equity. ........................................................7

          B.        Adjudication of modification proceedings falls within the public rights
                    exception. ............................................................................................................9

          C.        Meta’s remaining arguments are unpersuasive....................................................14

III.      Meta waived its constitutional claims.............................................................................15

CONCLUSION .........................................................................................................................18




                                                                    i
            Case 1:23-cv-03562-RDM Document 43 Filed 10/18/24 Page 3 of 24




                                              TABLE OF AUTHORITIES

CASES

A.L.A. Schechter Poultry Corp. v. United States,
  295 U.S. 495 (1935) ............................................................................................................ 4, 6

Am. Fin. Servs. Ass’n v. FTC,
  767 F.2d 957 (D.C. Cir. 1985) .................................................................................................5

Am. Washboard Co. v. Saginaw Mfg. Co.,
  103 F. 281 (6th Cir. 1900) .......................................................................................................8

Ark. Wholesale Grocers’ Ass’n v. FTC,
  18 F.2d 866 (8th Cir. 1927) .....................................................................................................6

Atlas Roofing Co., Inc. v. Occupational Safety & Health Review Commission,
  430 U.S. 442 (1977) ..............................................................................................................15

Block v. Hirsh,
  256 U.S. 135 (1921) ..............................................................................................................10

Cal.. Apparel Creators v. Wieder of Calif.,
  Inc., 162 F.2d 893 (2d Cir. 1947).............................................................................................9

City of Arlington v. FCC,
  569 U.S. 290 (2013) ..............................................................................................................13

*Commodity Futures Trading Comm’n v. Schor,
  478 U.S. 833 (1986) ....................................................................................................... passim

*Crowell v. Benson,
  285 U.S. 22 (1932) ..................................................................................................................6

Den ex. dem. Murray v. Hoboken Land & Improvement Co., (“Murray’s Lessee”)
  59 U.S. 272 (1855) .............................................................................................. 10, 11, 14, 15

Dr. Pepper/Seven-Up Companies, Inc. v. FTC,
  798 F. Supp. 762 (D.D.C. 1992),
  rev’d in part on other grounds, 991 F.2d 859 (D.C. Cir. 1993) ..............................................16

Elmo Co. v. FTC,
  389 F.2d 550 (D.C. Cir. 1967) .................................................................................................3

Elmo Div. of Drive-X Co. v. Dixon,
  348 F.2d 342 (D.C. Cir. 1965) .................................................................................................3


                                                                   ii
            Case 1:23-cv-03562-RDM Document 43 Filed 10/18/24 Page 4 of 24




FTC v. A. McLean & Son,
  84 F.2d 910 (7th Cir. 1936) .....................................................................................................6

FTC v. Algoma Lumber Co.,
  291 U.S. 67 (1934) ..................................................................................................................9

FTC v. Colgate-Palmolive Co.,
  380 U.S. 374 (1965) ..............................................................................................................13

FTC v. Indiana Fed’n of Dentists,
  476 U.S. 447 (1986) ..............................................................................................................13

FTC v. Klesner,
  280 U.S. 19 (1929) ..................................................................................................................8

FTC v. R.F. Keppel & Bro.,
  291 U.S. 304 (1934) ................................................................................................................5

FTC v. Sperry & Hutchinson Co.,
  405 U.S. 233 (1972) ................................................................................................................5

Granfinanciera, S.A. v. Nordberg,
  492 U.S. 33 (1989) ..................................................................................................................8

Gulfstream Aerospace Corp. v. Mayacamas Corp.,
  485 U.S. 271 (1988) ................................................................................................................4

Hill v. SEC,
  825 F.3d 1236 (11th Cir. 2016) .............................................................................................16

Holloway v. Bristol-Myers Corp.,
  485 F.2d 986 (D.C. Cir. 1973) ....................................................................................... 5, 6, 13

Int’l Shoe Co. v. FTC,
   280 U.S. 291 (1930) ................................................................................................................6

Jarkesy v. SEC,
  803 F.3d 9 (D.C. Cir. 2015) ...................................................................................................16

Joseph Forrester Trucking v. Dir., Off. of Workers’ Comp. Programs,
  987 F.3d 581 (6th Cir. 2021) .................................................................................................16

Lucia v. SEC,
  585 U.S. 237 (2018) ..............................................................................................................16




                                                                  iii
            Case 1:23-cv-03562-RDM Document 43 Filed 10/18/24 Page 5 of 24




Marseilles Hydro Power, LLC v. Marseilles Land & Water Co.,
 299 F.3d 643 (7th Cir. 2002) ...................................................................................................4

*Meta Platforms, Inc. v. FTC,
  --- F. Supp. 3d ---, 2024 WL 1121424 n.8 (D.D.C. Mar. 15, 2024) .............................. 4, 15, 17

*Meta Platforms, Inc. v. FTC,
  No. 24-5054, 2024 WL 1549732 (D.C. Cir. Mar. 29, 2024) ............................................ passim

Mistretta v. United States,
  488 U.S. 361 (1989) ..............................................................................................................11

Mosler Safe Co. v. Ely-Norris Safe Co.,
 273 U.S. 132 (1927) ................................................................................................................8

N. Pipeline Constr. Co. v. Marathon Pipe Line Co.,
  458 U.S. 50 (1982) .................................................................................................... 12, 14, 15

Nat’l Harness Mfrs. Ass’n v. FTC,
  268 F. 705 (6th Cir. 1920) ................................................................................................. 7, 13

NLRB v. Jones & Laughlin Steel Corp.,
  301 U.S. 1 (1937) ..................................................................................................................12

Oil States Energy Servs., LLC v. Greene’s Energy Grp., LLC,
  584 U.S. 325 (2018) ..............................................................................................................14

Ostler Candy Co. v. FTC,
  106 F.2d 962 (10th Cir. 1939) .................................................................................................7

Pan Am. World Airways v. United States,
  371 U.S. 296 (1963) ..............................................................................................................12

SEC v. Jarkesy,
  144 S. Ct. 2117 (2024) ................................................................................................... passim

Thomas v. Union Carbide Agr. Prod. Co.,
  473 U.S. 568 (1985) .......................................................................................................... 7, 10

Tull v. United States,
  481 U.S. 412 (1987) ................................................................................................................6

Union Bridge Co. v. United States,
  204 U.S. 364 (1907) ........................................................................................................ 11, 14




                                                                  iv
            Case 1:23-cv-03562-RDM Document 43 Filed 10/18/24 Page 6 of 24




United States v. Facebook, Inc.,
  Civ. A. No. 19-2184 (TJK), 2023 WL 8190858 (D.D.C. Nov. 27, 2023) .................................3

United States v. Facebook, Inc.,
  No. 23-5280, 2024 WL 1128083 (D.C. Cir. Mar. 12, 2024) .....................................................3

CONSTITUTION

U.S. Const. art. II, § 1, cl. 1 .......................................................................................................13

STATUTES

15 U.S.C. § 45.............................................................................................................................8

15 U.S.C. § 45(b) ............................................................................................................... passim

15 U.S.C. § 45(l) ................................................................................................................... 2, 12

15 U.S.C. § 56(a)(1) ....................................................................................................................2

15 U.S.C. § 57b(b) ....................................................................................................................12

LEGISLATIVE HISTORIES

S. Rep. No. 75-221 (1937)...........................................................................................................5

REGULATIONS

16 C.F.R. § 2.32 ........................................................................................................................16

16 C.F.R. § 2.32(c).............................................................................................................. 16, 17

16 C.F.R. § 3.72(b) ...................................................................................................................17

OTHER AUTHORITIES

1 Callmann on Unfair Competition, Trademarks and Monopolies § 5:9 (4th ed.) ........................4

Gillian E. Metzger, Foreword: 1930s Redux: The Administrative State Under Siege,
  131 Harv. L. Rev. 1 (2017) ....................................................................................................16




                                                                     v
         Case 1:23-cv-03562-RDM Document 43 Filed 10/18/24 Page 7 of 24




                                         INTRODUCTION

        Defendants’ opening brief explained why the Court should reject Meta’s attempt to avoid

facing the alleged problems with its privacy program in the FTC’s modification proceeding, and

why the Supreme Court’s decision in SEC v. Jarkesy, 144 S. Ct. 2117 (2024), does not alter the

bottom line as to Meta’s claims under the Seventh Amendment and Article III. Meta’s response

offers no persuasive argument to the contrary.

        First, the Seventh Amendment simply is not implicated where, as here, the only remedy

sought in the administrative proceeding is a cease-and-desist order, and Meta has not identified

any viable analogy to a legal remedy that might implicate the right to a jury.

        Second, Meta’s Article III claim fails because, as many courts have held, the FTC’s

administrative adjudications under 15 U.S.C. § 45(b) do not violate the separation of powers. The

FTC Act carefully limits the Commission’s role and reserves for the courts essential attributes of

judicial power, including having the final word on the meaning of the statute, the ability to enforce

cease-and-desist orders through monetary penalties, and the ability to grant monetary redress to

consumers. The requirement that the Commission act in the public interest further differentiates

the Commission from historic courts of equity, which were focused on the private rights before

them and could not issue injunctions for the objective of protecting the public from deception.

        Fundamentally, Jarkesy addressed a narrow question regarding the SEC’s ability to

adjudicate civil penalties under certain federal securities statutes. It did not purport to address what

other agencies operating under other statutes can do in cases involving only a cease-and-desist

order. Meta provides no good reason why this Court should adopt its overly broad reading of

Jarkesy and upend the FTC’s long history of adjudicating matters under 15 U.S.C. § 45(b). The

Court should decline to do so.



                                                   1
          Case 1:23-cv-03562-RDM Document 43 Filed 10/18/24 Page 8 of 24




                                           ARGUMENT

    I.      The Seventh Amendment is not implicated.

         Meta’s Seventh Amendment claim (Count V) fails because the remedy sought in the

modification proceeding—the more important factor in determining whether the “suit at common

law” criterion is met—is injunctive, not legal, in nature. See Defs.’ Renewed Mot. to Dismiss, Dkt.

38 at 14-15. Meta’s sole argument regarding the remedy factor is that entry of a Commission order

could eventually lead to “future imposition of civil penalties” under 15 U.S.C. § 45(l). Pl’s. Memo.

in Opp’n to Def’s Mot., Dkt. 41 at 35. As Defendants explained earlier in this case, under § 45(l),

if the Commission decides to modify the 2020 Order, if Meta one day were to violate the modified

order, if the Commission referred the matter to the Department of Justice, and if a complaint was

filed in district court seeking civil penalties, 1 then civil penalties could potentially be recovered

from Meta. See 15 U.S.C. § 45(l); Defs. Opp’n to Pl’s. Mot. for Prelim. Inj., Dkt. 18 at 28. Meta

cites no authority for the proposition that jury trial rights attach based on speculation about

remedies that might or might not be sought in a future proceeding, based on future violations that

Meta may or may not commit, of a modification order that may or may not be issued. See Dkt. 41

at 28. The only remedy being sought in the modification proceeding is a cease-and-desist order.

The Seventh Amendment simply is not implicated here. See Meta Platforms, Inc. v. FTC, No. 24-

5054, 2024 WL 1549732, at *3 (D.C. Cir. Mar. 29, 2024) (per curiam) (rejecting Seventh

Amendment claim where “[t]he Commission is not seeking penalties or any form of relief arguably

analogous to damages or other relief available at law”).

         Regarding the nature of the action, the less important factor, Meta continues to press its

allegation that “the Commission is adjudicating Meta’s contract rights.” Dkt. 41 at 35. But again,


1
 The FTC may bring a civil penalty case itself if the Department of Justice declines or does not
act on the FTC’s referral within 45 days. 15 U.S.C. § 56(a)(1).
                                                  2
        Case 1:23-cv-03562-RDM Document 43 Filed 10/18/24 Page 9 of 24




the breach of contract analogy is inapt because neither a contract nor a breach is necessary for the

Commission to modify an order. See Dkt. 38 at 16. Meta cites Elmo Div. of Drive-X Co. v. Dixon,

348 F.2d 342, 345-46 (D.C. Cir. 1965), in arguing that the Commission cannot “unilaterally

obliterate” a company’s contractual rights under an agreed FTC order. Dkt. 41 at 36. To the extent

Meta is trying to import an argument from parallel litigation—that the FTC is contractually

prohibited from modifying the 2020 order, and only the district court that oversaw the settlement

leading to the order can do so—its argument was rejected by that very district court. United States

v. Facebook, Inc., Civ. A. No. 19-2184 (TJK), 2023 WL 8190858, at *6 (D.D.C. Nov. 27, 2023)

(Kelly, J.). The D.C. Circuit has also held that Meta is unlikely to succeed on that claim. United

States v. Facebook, Inc., No. 23-5280, 2024 WL 1128083, at *1 (D.C. Cir. Mar. 12, 2024) (denying

motion for injunction pending appeal). 2

       In any event, Elmo does not help Meta. When Elmo later returned to the D.C. Circuit, the

court affirmed the Commission’s modification of the agreed FTC order because it was in the public

interest to set aside a part of the agreed order “permitting” the company to claim that its products

had beneficial health effects. Elmo Co. v. FTC, 389 F.2d 550, 551-52 (D.C. Cir. 1967). Because

the agreed order allowed beneficial health claims, the company did not violate it by making such

claims. Nevertheless, the Commission modified the order because evidence at the modification

hearing raised “a serious question as to whether” the company’s products had “any beneficial

effects at all.” Id. at 552. The case demonstrates that, even when the Commission adjudicates a

modification proceeding involving an agreed order, as opposed to a fully litigated order, the

Commission does not adjudicate a breach of contract claim because no “breach” of the agreed




2
 The D.C. Circuit is scheduled to hear oral argument in United States v. Facebook on November
5, 2024. Order, United States v. Facebook, No. 23-5280 (D.C. Cir. Sept. 20, 2024).
                                                 3
        Case 1:23-cv-03562-RDM Document 43 Filed 10/18/24 Page 10 of 24




order is required for modification. See Dkt. 38 at 16. 3 Both this Court and the D.C. Circuit have

already rejected Meta’s “attempt to repackage the matter as involving contract law[.]” Meta, 2024

WL 1549732, at *4; Meta Platforms, Inc. v. FTC, --- F. Supp. 3d ---, 2024 WL 1121424, at *19

n.8 (D.D.C. Mar. 15, 2024) (“PI Denial Order”). Meta provides no reason for this Court to reach

a different conclusion now.

        Meta also continues to urge an analogy to fraud and deceit actions historically brought in

courts of law and devotes much attention to a new theory that similar fraud and deceit actions were

brought in courts of equity. Dkt. 41 at 14-23. As discussed in Defendants’ motion, the nature and

history of FTC Act claims distinguish them from common law claims. Dkt. 38 at 18. Jarkesy found

that federal securities fraud was analogous to common law fraud for Seventh Amendment purposes

because Congress used common law terms of art and incorporated prohibitions from common law

fraud into federal securities law. 144 S. Ct. at 2130. In the FTC Act, however, Congress

purposefully chose not to use the common law term of art “unfair competition” and instead used

“unfair methods of competition,” “an expression new in the law,” A.L.A. Schechter Poultry Corp.

v. United States, 295 U.S. 495, 532 (1935),4 precisely because Congress wanted to give the

Commission discretion to determine what practices were unfair, without being tied to common



3
  Because modification does not depend on any “breach” by Meta, the Court should disregard
Meta’s argument that modification is akin to a declaration of contract rights. Dkt. 41 at 36. In any
event, “[a]ctions for declaratory judgments are neither legal nor equitable.” Gulfstream Aerospace
Corp. v. Mayacamas Corp., 485 U.S. 271, 284 (1988). “[C]asting one’s suit in the form of a suit
for a declaratory judgment, or adding a claim for a declaratory judgment to one’s other claim or
claims for relief, does not create a right to a jury trial” where the plaintiff is seeking equitable relief
and not damages, even if the nature of the underlying dispute is breach of contract. Marseilles
Hydro Power, LLC v. Marseilles Land & Water Co., 299 F.3d 643, 649 (7th Cir. 2002).
4
  As the Court explained in Schechter Poultry, the tort of unfair competition was narrowly confined
to the “palming off of one’s goods as those of a rival trader” and “the selling of another’s goods
as one’s own.” 295 U.S. at 532. By contrast, when a defendant “falsely inflat[ed] the virtues of its
own products or services . . . the common law refused to provide a remedy.” 1 Callmann on Unfair
Competition, Trademarks and Monopolies § 5:9 (4th ed.).
                                                    4
        Case 1:23-cv-03562-RDM Document 43 Filed 10/18/24 Page 11 of 24




law concepts. FTC v. Sperry & Hutchinson Co., 405 U.S. 233, 243 (1972); FTC v. R.F. Keppel &

Bro., 291 U.S. 304, 310-12 (1934).

       As the Supreme Court discussed in Sperry, the prohibition against “unfair” and “deceptive”

acts or practices, formally added to the statute in 1938, grew out of Supreme Court precedent that

interpreted “unfair methods of competition” as covering “unfair practices in commerce” beyond

the reach of the common law and antitrust statutes. 405 U.S. at 243-44; see also S. Rep. No. 75-

221, at 2 (1937) (“[T]he sole purpose and effect of [the 1938] chief amendment to section 5” was

to stop such acts or practices “regardless of their effect [on] competitors”). Indeed, Sperry

specifically held that when the Commission administers this new standard, it “does not arrogate

excessive power to itself if . . . it, like a court of equity, considers public values beyond simply

those enshrined in the letter or encompassed in the spirit of the antitrust laws.” 405 U.S. at 244.

Likewise, the D.C. Circuit has described the consumer unfairness doctrine developed by the FTC

as “not moored in the traditional rationales of anticompetitiveness or deception.” Am. Fin. Servs.

Ass’n v. FTC, 767 F.2d 957, 971 (D.C. Cir. 1985).

       Meta repeats six times that Congress “superimposed a structure of Federal law upon the

existing system of common law remedies for fraud and deceit,” quoting from an earlier D.C.

Circuit case, Holloway v. Bristol-Myers Corp., 485 F.2d 986, 989 (D.C. Cir. 1973). Dkt. 41 at 9,

17, 21, 23, 24, 31. But each time it does so, Meta leaves out the remainder of the sentence: “ . . . .

Congress has superimposed a structure of Federal law upon the existing system of common law

remedies for fraud and deceit without preempting or superseding the latter.” Holloway, 485 F.2d

at 989 (emphasis added). Read in context, this line just explains that the substantive prohibitions

in the FTC Act coexist with common law remedies. Indeed, the court went on to distinguish the

FTC Act from the common law: the Commission does not “serve as a vehicle for redressing



                                                  5
          Case 1:23-cv-03562-RDM Document 43 Filed 10/18/24 Page 12 of 24




essentially private grievances,” nor does the Act “purport to affect a consumer’s right to obtain

damages in a common law action sounding in fraud or deceit.” Id. at 999-1000. 5

          As for Meta’s analogy to equitable causes of action, even if credited, such an analogy only

undermines its Seventh Amendment claim. When the nature of the action could sound in either

law or equity, courts look to the remedy, the more important factor. Tull v. United States, 481 U.S.

412, 421 (1987). A cease-and-desist order is more similar to an injunction than to any legal remedy

Meta has offered. Thus, the Seventh Amendment is not implicated.

          Meta’s Seventh Amendment claim should be dismissed.

    II.      The Commission adjudicates public rights, consistent with Article III.

          Meta’s Article III claim should also be dismissed. The Supreme Court has held up an FTC

adjudication as an example of constitutionally permissible agency adjudication. Crowell v. Benson,

285 U.S. 22, 50-51 & n.13 (1932) (citing Int’l Shoe Co. v. FTC, 280 U.S. 291, 297 (1930)); cf.

Schechter Poultry, 295 U.S. at 533 (distinguishing FTC Act from statute that violated separation

of powers in part because the FTC Act provides for case-by-case determinations by the

Commission and judicial review of the Commission’s actions). And courts of appeals have

repeatedly rejected Article III challenges to the FTC Act. See, e.g., FTC v. A. McLean & Son, 84

F.2d 910, 912 (7th Cir. 1936) (finding “no merit” to a separation of powers challenge to section 5

of the FTC Act, and collecting cases); Ark. Wholesale Grocers’ Ass’n v. FTC, 18 F.2d 866, 870

(8th Cir. 1927) (“It has been authoritatively held that it is within the power of Congress to delegate


5
  The rest of the opinion, which held that the FTC Act did not provide a private right of action,
emphasized the “interwoven” nature of the statute’s substantive prohibitions and the unique,
specialized role of the expert agency. Holloway, 485 F.2d at 997-98. It expressed hesitation about
courts disrupting the “balance” of policy objectives struck by Congress in designing the FTC Act
and “inject[ing]” themselves “into the pertinent subject-matter directly, without the benefit of FTC
consideration.” Id. at 989, 997-98, 1000, 1002. Meta’s claims, which do not fully grapple with
precedents upholding the statute’s delineation of the FTC’s versus the courts’ roles, offer no reason
to destroy the administrative structure built by Congress.
                                                   6
        Case 1:23-cv-03562-RDM Document 43 Filed 10/18/24 Page 13 of 24




to an administrative body, or head of a department, the duty and power of finding facts upon which

subsequent orders may be made and action predicated.”); Nat’l Harness Mfrs. Ass’n v. FTC, 268

F. 705, 707 (6th Cir. 1920) (the FTC Act “delegates to the commission no judicial powers”); see

also Ostler Candy Co. v. FTC, 106 F.2d 962, 964 (10th Cir. 1939) (rejecting claim that statutory

procedures for cease-and-desist orders “vest[ed] judicial power in the Commission”).

       Contrary to Meta’s suggestion, Jarkesy did not overturn this wealth of authority. Jarkesy

addressed the narrow question of whether the SEC could adjudicate actions for civil penalties

brought under certain federal securities fraud laws. Jarkesy did not address whether the SEC can,

consistent with Article III, issue a cease-and-desist order or impose other non-punitive remedies,

let alone what other agencies can do under different statutes with different histories. Given that

Jarkesy itself acknowledged the “frequently arcane distinctions and confusing precedents” in this

area and declined to definitively explain public rights, 144 S. Ct. at 2133 (quoting Thomas v. Union

Carbide Agr. Prod. Co., 473 U.S. 568, 583 (1985)), the Court should decline to read Jarkesy in a

sweeping fashion. Reading Jarkesy to prohibit the FTC from issuing cease-and-desist orders would

upend over a century of agency adjudications. Rather, the Court should continue to uphold the

FTC’s § 45(b) adjudications as consistent with Article III because the FTC Act does not

impermissibly delegate Article III judicial power to the Commission.

           A.      FTC Act claims adjudicated in § 45(b) proceedings are distinct from
                   historical claims in courts of law and equity.

       Meta contends that, under Jarkesy, the modification proceeding must be adjudicated by an

Article III court because courts of law and equity historically adjudicated fraud claims. Dkt. 41 at

18. Meta’s contentions are incorrect.

       First, for the reasons discussed above and in Defendants’ opening brief, FTC Act claims

are not analogous to common law claims. Supra at 4-5; Dkt. 38 at 18.


                                                 7
        Case 1:23-cv-03562-RDM Document 43 Filed 10/18/24 Page 14 of 24




       Second, the nature of FTC Act claims is distinct from that of equitable claims. The

objectives of the two types of actions are different: Suits in equity protect the plaintiff’s property

rights; the FTC Act protects the public interest. “Courts of equity” were “concerned with the

property rights of complainant,” and thus “the sale of spurious goods . . . [did] not give rise to a

private right of action unless the property rights of the plaintiff [were] thereby invaded.” Am.

Washboard Co. v. Saginaw Mfg. Co., 103 F. 281, 285 (6th Cir. 1900).6 “The private action [was]

given, not for the benefit of the public, although that may be its incidental effect, but because of

the invasion by defendant of that which is the exclusive property of complainant.” Id. at 284.

Courts of equity thus only granted injunctive relief for misrepresentation when the plaintiff could

“show that customers had they known the facts would have gone to the plaintiff rather than to other

competitors in the market.” Mosler Safe Co. v. Ely-Norris Safe Co., 273 U.S. 132, 134 (1927).

Only “the legislature” could grant a remedy for “morally wrong and improper” practices that

deceive the public. Am. Washboard, 103 F. at 285.

       Because “traditional rights and remedies were inadequate to cope with a manifest public

problem,” Granfinanciera, S.A. v. Nordberg, 492 U.S. 33, 60 (1989), Congress enacted Section 5

of the FTC, 15 U.S.C. § 45, to allow the Commission to adjudicate claims under a public-interest

standard to protect consumers and fair competition. “[T]o justify the Commission in filing a

complaint under section 5, the purpose must be protection of the public. The protection thereby

afforded to private persons is the incident. Public interest may exist although the practice deemed

unfair does not violate any private right.” FTC v. Klesner, 280 U.S. 19, 27 (1929) (footnote

omitted). Unlike traditional courts, the Commission cannot address merely private wrongs. See id.




6
 American Washboard was decided by a panel of three future Supreme Court justices: Taft,
Lurton, and Day.
                                                  8
        Case 1:23-cv-03562-RDM Document 43 Filed 10/18/24 Page 15 of 24




at 28-30 (refusing to enforce FTC order because the Commission did not act in the public interest

when authorizing a complaint involving a dispute between two local window shade shops that was

“essentially private in its nature”).

        Meta quotes a line from FTC v. Algoma Lumber Co., 291 U.S. 67 (1934), stating that “there

is a kind of fraud, as courts of equity have long perceived, in clinging to a benefit which is the

product of misrepresentation, however innocently made.” Dkt. 41 at 16, 21 (quoting Algoma

Lumber, 291 U.S. at 81). But in the same section of the opinion, Algoma Lumber explained that,

before the FTC Act was enacted in 1914, complaints that “white pine” products were not actually

made of white pine would have been “few and inarticulate at a time when there was no supervisory

body to hold business to its duty” and when “many competitive practices that today may be

suppressed . . . were not actionable wrongs, the damage to the complainants being classified often

as collateral and remote.” 291 U.S. at 79. The Court described the FTC as the “champion at hand

to put an end to the abuse” and sustained the FTC’s cease-and-desist order. Id. at 80-82. 7 Algoma

Lumber thus understood the FTC Act to create something new and different.

            B.      Adjudication of modification proceedings falls within the public rights
                    exception.

        In any event, that a historical analog of a statutory claim could have been adjudicated by a

court of law or equity does not necessarily mean that a claim can only be adjudicated in an Article

III court. If the matter involves public rights, Congress may nevertheless assign the initial

adjudication of such a claim to an agency without offending the separation of powers. See, e.g.,

Commodity Futures Trading Comm’n v. Schor, 478 U.S. 833, 852 (1986) (upholding agency



7
  See also Cal. Apparel Creators v. Wieder of Cal., Inc., 162 F.2d 893, 896, 900-01 & nn. 2 & 11
(2d Cir. 1947) (describing FTC as a “vicarious avenger of the public,” in contrast to historical
courts of equity, which required proof that misleading practices resulted in “specific customers
diverted from specific plaintiffs”).
                                                 9
        Case 1:23-cv-03562-RDM Document 43 Filed 10/18/24 Page 16 of 24




adjudication of “common law counterclaims”); Thomas, 473 U.S. at 587 (noting that Crowell

upheld agency adjudication of statutory claims that “displaced a traditional cause of action and

affected a pre-existing relationship based on a common-law contract for hire”); Block v. Hirsh,

256 U.S. 135, 158 (1921) (upholding agency adjudication of landlord-tenant disputes).

        Meta reads Jarkesy as strictly limiting the public rights exception to certain categories of

cases such as immigration and taxation or, alternatively, to specific areas where “centuries-old

rules” support administrative adjudication. Dkt. 41 at 9, 31 (citing Jarkesy, 144 S. Ct. at 2132-34).

But Jarkesy never claimed that it was exhaustively cataloguing all types of public rights matters.

Indeed, Jarkesy expressly disclaimed that it was definitively explaining the distinction between

public and private rights. Jarkesy, 144 S. Ct. at 2133. Consistent with this disclaimer, Jarkesy cited

Murray’s Lessee’s discussion of historical revenue collection practices only as an “example” of a

justification for the application of the doctrine. Id. at 2133-34 (citing Den ex dem. Murray v.

Hoboken Land & Improvement Co., 59 U.S. 272, 281-85 (1855)) (“Murray’s Lessee”).

        More careful analysis of the Supreme Court’s precedent in this area shows that, in

determining whether a particular agency adjudicatory scheme violates Article III, the Court is

concerned with whether such a scheme “impermissibly threatens the institutional integrity of the

Judicial Branch.” Schor, 478 U.S. at 851. In making that determination, “the Court has declined to

adopt formalistic and unbending rules.” Id. Rather, it has tended to “weigh[] a number of factors,

none of which has been deemed determinative . . . .” Id.; see also Jarkesy, 144 S. Ct. at 2134, 2136

(treating various considerations as not dispositive or not sufficient on their own). “[T]he origins . . .

of the right[s] to be adjudicated” is just one factor. Schor, 478 U.S. at 851. Other considerations

include “the extent to which the ‘essential attributes of judicial power’ are reserved to Article III

courts,” “the extent to which the non-Article III forum exercises the range of jurisdiction and



                                                   10
        Case 1:23-cv-03562-RDM Document 43 Filed 10/18/24 Page 17 of 24




powers normally vested only in Article III courts,” and “the concerns that drove Congress to depart

from the requirements of Article III.” Id.

       This approach reflects the Court’s understanding that, although Article III “judicial Power”

“cannot be shared with the other branches,” Jarkesy, 144 S. Ct. at 2131, the separation of powers

principle does not require “hermetic division among the Branches.” Mistretta v. United States, 488

U.S. 361, 381 (1989). Just as the Judicial Branch can engage in rulemaking or “other

nonadjudicatory activities”—so long as Congress’s delegation of these functions “do[es] not

trench upon the prerogatives of another Branch and . . . are appropriate to the central mission of

the Judiciary,” id. at 388 (upholding placement of Sentencing Commission in the Judicial

Branch)—so too can agencies engage in adjudication without intruding on the Judicial Branch. As

the Supreme Court established long ago, Congress may enact laws setting forth general rules while

delegating to an agency “the duty of ascertaining what particular cases c[o]me within the rule” and

“the duty of enforcing the rule in such cases.” Union Bridge Co. v. United States, 204 U.S. 364,

386 (1907). In performing these duties, the agency “only execute[s] the clearly-expressed will of

Congress” and does not, “in any true sense, exert legislative or judicial power.” Id. If the

Constitution denied Congress the right “to delegate the power to determine some fact or the state

of things upon which the enforcement of its enactment depends,” the effect “would be ‘to stop the

wheels of government’ and bring about confusion, if not paralysis, in the conduct of the public

business.” Id. at 387. Consistent with this understanding, the Court has long recognized that

agencies do not violate Article III when they adjudicate “public rights” matters that “historically

could have been determined exclusively by the executive and legislative branches even when they

were presented in such form that the judicial power was capable of acting on them.” Jarkesy, 144

S. Ct. at 2132 (cleaned up); Murray’s Lessee, 59 U.S. at 284.



                                                11
        Case 1:23-cv-03562-RDM Document 43 Filed 10/18/24 Page 18 of 24




        Here, § 45(b) modification matters involve public rights because the Commission does not

“exercise[] the range of jurisdiction and powers normally vested only in Article III courts.” Schor,

478 U.S. at 851. Rather, the FTC Act reserves the “essential attributes of judicial power” to Article

III courts, authorizing the Commission to perform only functions that could also be performed by

Congress or the Executive Branch. Id. As discussed above, the Commission can act under § 45(b)

only in the public interest, with any effect on private interests being incidental to the public interest.

In contrast, courts of equity could act only if the plaintiff before the court was harmed, and any

effect on the public interest was incidental to the court’s ability to hear the case. Supra at 8.

        The Commission’s remedial and enforcement powers are also limited. The Commission

cannot order a company to pay monetary redress to consumers; only a court can. See 15 U.S.C.

§ 57b(b). Although the Commission can issue cease-and-desist orders, which share similarities

with court-issued injunctions, 8 unlike a court, the Commission cannot enforce its orders by

imposing monetary penalties. See 15 U.S.C. § 45(l); N. Pipeline Constr. Co. v. Marathon Pipe

Line Co., 458 U.S. 50, 84-85 (1982) (plurality) (describing district court-like power to enforce

orders as an “essential attribute[] of judicial power”).




8
  Similarity between an agency’s order and a court-issued injunction does not foreclose application
of the public rights exception. In NLRB v. Jones & Laughlin Steel Corp., 301 U.S. 1 (1937), the
Supreme Court upheld the NLRB’s order to reinstate employees fired for union-related activity,
which the Court described as “equitable relief” and compared to a similar reinstatement order
imposed by a court. Id. at 47-48. “The fact that in the one case it was a judicial sanction, and in
the other a legislative one,” the Court noted, “is not an essential difference in determining its
propriety.” Id. at 48. The Court “[did] not doubt that Congress could impose a like sanction for the
enforcement of its valid regulation.” Id. Similarly, the FTC may determine in the first instance that
a company must prospectively cease and desist from unfair or deceptive acts and issue an order to
that effect, even though a court could do something similar, if granted jurisdiction by Congress.
See Pan Am. World Airways v. United States, 371 U.S. 296, 312 n.17 (1963) (explaining that FTC’s
“[a]uthority to mold administrative decrees is indeed like the authority of courts to frame injunctive
decrees”).


                                                   12
        Case 1:23-cv-03562-RDM Document 43 Filed 10/18/24 Page 19 of 24




       Moreover, a cease-and-desist order issued by the Commission is subject to judicial review

and it is the courts, not the Commission, that ultimately determine as a matter of law whether

certain types of conduct are unfair or deceptive within the meaning of the FTC Act. See FTC v.

Indiana Fed’n of Dentists, 476 U.S. 447, 454 (1986); FTC v. Colgate-Palmolive Co., 380 U.S.

374, 385 (1965); Nat’l Harness, 268 F. at 707; see also Schor, 478 U.S. at 853 (upholding CFTC

adjudication of common law counterclaims in part because agency did not exercise all the ordinary

powers of district courts, and its orders are enforceable only by courts and are subject to judicial

review). The Commission’s initial adjudication does not usurp any judicial role, but rather is

designed to give courts the benefit of the FTC’s expertise and inquiry into what is in the public

interest when they review cease-and-desist orders. See Colgate-Palmolive, 380 U.S. at 385 (“This

Court has frequently stated that the Commission's judgment is to be given great weight by

reviewing courts. This admonition is especially true with respect to allegedly deceptive advertising

since the finding of a § 5 violation in this field rests so heavily on inference and pragmatic

judgment.”); cf. Holloway, 485 F.2d at 998.

       While adjudication under § 45(b) takes a “‘judicial’ form[]” in the sense that the

Commission makes case-by-case determinations using adjudicatory procedures, in substance it is

an exercise of “executive Power,” not judicial power, City of Arlington v. FCC, 569 U.S. 290, 304

n.4 (2013) (quoting U.S. Const. art. II, § 1, cl. 1), because the Commission makes only

determinations that could be exclusively made by Congress or the Executive Branch. The

Commission determines whether particular types of conduct are unfair or deceptive and, if so (and

if in the public interest), it issues an order to cease and desist such conduct in the future. Congress

could similarly define on its own what acts are unfair or deceptive. Congress could also enact

legislation to prospectively prohibit certain types of conduct or require businesses to take



                                                  13
        Case 1:23-cv-03562-RDM Document 43 Filed 10/18/24 Page 20 of 24




prophylactic measures to prevent potential harm to the public. Because Congress itself possesses

all of these powers, it did not exceed its authority when delegating to the Commission the power

to decide what remedies are appropriate on a case-by-case basis. See Union Bridge, 204 U.S. at

386 (explaining that, because Congress could have conducted an investigation and “determined

for itself” that particular bridges unreasonably interfered with free navigation, it could delegate to

the Secretary of War the power to decide the same). To be sure, courts can perform somewhat

similar tasks in deciding cases and issuing injunctions. But while these activities involve “inquiry

into the existence of facts and the application to them of rules of law,” “the exercise of judgment

upon law and fact” “is not sufficient to bring such matters under the judicial power.” Murray’s

Lessee, 59 U.S. at 280; cf. Oil States Energy Servs., LLC v. Greene’s Energy Grp., LLC, 584 U.S.

325, 343 (2018) (“[The Supreme] Court has never adopted a ‘looks like’ test to determine if an

adjudication has improperly occurred outside of an Article III court.”).

       Because FTC Act § 45(b) adjudications do not involve the exercise of Article III judicial

power, Meta’s Article III claim should be dismissed.

           C.      Meta’s remaining arguments are unpersuasive.

       Meta’s other arguments regarding the public rights doctrine are unavailing. Meta asserts

that “Jarkesy established a ‘presumption’ that even public rights should be adjudicated by Article

III courts,” Dkt. 41 at 13, repeatedly quoting the following line from Jarkesy: “‘[E]ven with respect

to matters that arguably fall within the scope of the ‘public rights’ doctrine, the presumption is in

favor of Article III courts,’” id. at 9, 13, 28, 31 (quoting Jarkesy, 144 S. Ct. at 2134 (quoting N.

Pipeline, 458 U.S. at 69 n.23)). But Jarkesy did not create any new rule. Jarkesy quoted Northern

Pipeline in support of the general observation that the public rights doctrine is an exception to the

general rule that Congress cannot “withdraw from judicial cognizance any matter which, from its

nature, is the subject of a suit at the common law, or in equity, or admiralty.” Jarkesy, 144 S. Ct.
                                                 14
           Case 1:23-cv-03562-RDM Document 43 Filed 10/18/24 Page 21 of 24




at 2134 (quoting Murray’s Lessee, 59 U.S. at 284). That unremarkable concept dates back to

Murray’s Lessee, an 1855 decision, and it also appears in Northern Pipeline, a 1982 opinion. See

N. Pipeline, 458 U.S. at 70; Murray’s Lessee, 59 U.S. at 284. Meta’s repeated quotation of the line

from Northern Pipeline does not clarify what makes a matter a “public rights” matter that can be

adjudicated by an agency.

           Finally, Meta argues that the FTC regulates transactions between private market

participants. Dkt. 41 at 30, 35. But this is just a variation on Meta’s previous failed argument that

a matter implicating private property rights necessarily requires an Article III adjudicator. See PI

Denial Order, 2024 WL 1121424, at *19 n.7. Many of the Supreme Court’s public rights cases

have involved private market participants, such as the private employers and employees in Crowell

and Jones & Laughlin, the landlord and tenant in Block, and the commodities broker and customer

in Schor. None of these precedents were disturbed by Jarkesy. 9 While Jarkesy noted that the SEC

action there was meant to regulate private market transactions, that was in the context of explaining

that the claims at issue were “modeled on common law fraud” and “provide[d] a type of remedy

available only in law courts.” 144 S. Ct. at 2136. Neither of those factors applies here.

           Accordingly, this Court should dismiss Meta’s Article III claim.

    III.      Meta waived its constitutional claims.

           Meta’s claims should also be dismissed because it consented to administrative

modification. Meta argues that its waiver should be excused because Jarkesy is an intervening

change in the law. Dkt. 41 at 36-37. However, Jarkesy simply applied Granfinanciera, a 1989


9
  Atlas Roofing Co., Inc. v. Occupational Safety & Health Review Commission, 430 U.S. 442
(1977), also involved private employers and employees. While Jarkesy criticized Atlas Roofing, it
did not overrule Atlas Roofing and explicitly declined to state that it had already been overruled.
Jarkesy, 144 S. Ct. at 2137 (not “reach[ing] the suggestion made by Jarkesy and Patriot28 that Tull
and Granfinanciera effectively overruled Atlas Roofing”). Following still-extant Supreme Court
precedent is not “error.” See Dkt. 41 at 30.
                                                  15
        Case 1:23-cv-03562-RDM Document 43 Filed 10/18/24 Page 22 of 24




decision, to decide a case based on similar facts. Jarkesy, 144 S. Ct. at 2135 (“Granfinanciera

effectively decides this case.”). Further, litigants have been raising challenges to agency

adjudication similar to the ones Meta raises here for years before the Supreme Court decided

Jarkesy. See, e.g., Hill v. SEC, 825 F.3d 1236, 1239 (11th Cir. 2016) (raising Seventh Amendment

challenge in 2015); Jarkesy v. SEC, 803 F.3d 9, 14 (D.C. Cir. 2015) (same in 2014); Gillian E.

Metzger, Foreword: 1930s Redux: The Administrative State Under Siege, 131 Harv. L. Rev. 1, 21

& n.104 (2017) (in 2017, describing numerous constitutional challenges brought to agency

adjudications in recent years). Thus, Meta’s waiver—reflected in its conduct from 2011 through

2020—should not be excused. Cf. Joseph Forrester Trucking v. Dir., Off. of Workers’ Comp.

Programs, 987 F.3d 581, 592 (6th Cir. 2021) (refusing to excuse forfeiture based on intervening

change in law where Appointments Clause challenges were available before Lucia v. SEC, 585

U.S. 237 (2018), and Lucia was decided based on prior Supreme Court precedent).

       Meta also takes issue with the D.C. Circuit’s reliance on 16 C.F.R. § 2.32(c) 10 in

determining that Meta waived its constitutional challenges. Dkt. 41 at 37 n.15. But Meta’s

hyperfocus on § 2.32(c) misses the forest for the trees. The D.C. Circuit’s point was that “this is

the third round in a long-running interchange involving consent orders agreed to by Meta and the

Commission that address Meta’s privacy policies.” Meta, 2024 WL 1549732, at *2. Meta has been

aware for many years that consent orders issued by the Commission are subject to modification by




10
  16 C.F.R. § 2.32 “prescribe[s] the form and much of the content” of “agreement[s] in settlement
of a Commission complaint.” Dr. Pepper/Seven-Up Companies, Inc. v. FTC, 798 F. Supp. 762,
770 (D.D.C. 1992), rev’d in part on other grounds, 991 F.2d 859 (D.C. Cir. 1993). Under
subsection (c), every such agreement “shall provide that” the proposed consent order “will have
the same force and effect and may be altered, modified or set aside in the same manner provided
by statute for Commission orders issued on a litigated or stipulated record.”
                                                16
        Case 1:23-cv-03562-RDM Document 43 Filed 10/18/24 Page 23 of 24




the Commission through administrative proceedings, and it has nevertheless agreed to those

consent orders, and thus to the FTC’s administrative modification procedures. Id.

       As discussed in the D.C. Circuit’s order, in 2011, Meta settled an administrative complaint

and agreed that the Commission would issue a consent order against it, which the Commission did

in 2012. Defs. Opp’n to Pl’s. Mot. for Prelim. Inj., Ex. B, Dkt. 18-3; id. Ex. C, Dkt. 18-4. As

required by § 2.32(c), the agreement stated that the consent order “shall have the same force and

effect and may be altered, modified or set aside in the same manner provided by statute for other

orders.” Compare Dkt. 18-3 at 3, with 16 C.F.R. § 2.32(c). In the 2011 agreement, Meta also

“waived ‘any further procedural steps’ and ‘all rights to seek judicial review or otherwise to

challenge or contest the validity of the order.” Meta, 2024 WL 1549732, at *2 (quoting Dkt. 18-3

at 2). In 2020, the government and Meta reached another agreement to settle a district court

Department of Justice complaint seeking civil penalties due to Meta’s violation of the 2012

administrative order. In that agreement, Meta consented to the Commission modifying the 2012

order, which resulted in the Commission issuing its 2020 order. PI Denial Order, 2024 WL

1121424, at *5. Because § 2.32(c) applies only to settlements “of a Commission complaint,” not

to settlements of district court complaints, the language of § 2.32(c) was not required in the 2020

settlement. However, in 2020, Meta consented to the Commission’s modification of the 2012 order

and waived its rights to an administrative show-cause procedure, which Meta otherwise would

have been entitled to prior to modification. Defs. Opp’n to Pl’s. Mot. for Prelim. Inj., Ex. F, Dkt.

18-7 at 2 (citing 16 C.F.R. § 3.72(b), which implements the procedural requirements for

modification in 15 U.S.C. § 45(b)). Meta also again waived its rights to appeal or challenge the

validity of the modified administrative order. Dkt. 18-7 at 2-3. This course of events shows that,

“when Meta consented to the Commission’s 2020 order, it seems it also may have consented to



                                                17
        Case 1:23-cv-03562-RDM Document 43 Filed 10/18/24 Page 24 of 24




the established procedures for modifying that order, including the order to show cause that it asks

this court to enjoin.” Meta, 2024 WL 1549732, at *2. Meta’s consent thus provides another reason

to dismiss its claims.

                                        CONCLUSION

       For these reasons, the Court should grant Defendants’ motion and dismiss Meta’s

Complaint with prejudice.



Dated: October 18, 2024                              Respectfully submitted,

                                                     BRIAN M. BOYNTON
                                                     Principal Deputy Assistant Attorney General

                                                     CHRISTOPHER HALL
                                                     Assistant Branch Director

                                                     /s/ Cynthia Liao
                                                     CYNTHIA LIAO (CA Bar No. 301818)
                                                     Trial Attorney
                                                     United States Department of Justice
                                                     Civil Division, Federal Programs Branch
                                                     1100 L St. N.W.
                                                     Washington, DC 20005
                                                     Tel: (202) 531-1325
                                                     Fax: (202) 616-8470
                                                     cynthia.f.liao@usdoj.gov

                                                     Counsel for Defendants




                                                18
